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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                                  CRIMINAL NO. 21-177

VERSUS                                                    SECTION "B" (4)

                                                          VIOLATIONS: 21 USC § 846
SEAN MARTIN                                                           21 USC § 841(a)(1),
GENE JACKSON                                                          841(b)(1)(A) an
                                                                      841(b)(1)(C)
                                                                      18 USC § 924(c)(1)(A)(i)
                                                                      18 USC § 922(g)(1) and
                                                                      924(a)(2)

                                       RE-NOTICE OF TRIAL
                                    (previously set for 5/8/2023)

        Take notice that this criminal case has been reset for TRIAL on May 30, 2023, at 8:30 a.m.

before SENIOR U. S. DISTRICT JUDGE IVAN L. R. LEMELLE, 500 Poydras Street, Courtroom C-501,

New Orleans, LA 70130. A final pretrial conference will be held on May 11, 2023, at 9:00 a.m.

        IMPORTANT NOTE: PHOTO I.D. IS REQUIRED TO ENTER THE BUILDING
  PERSONS ON BOND MUST REPORT TO THE DEPUTY U.S. MARSHAL IMMEDIATELY OUTSIDE THE
  AFORESAID COURTROOM FOR EVALUATION AND SEARCH 15 MINUTES PRIOR TO APPEARANCE.

  DATE: May 2, 2023                                   CAROL L. MICHEL, CLERK
                                                      by: Dena M. White, Deputy Clerk
  TO:
  SEAN MARTIN
                                                      AUSA David Haller
  c/o USM

  COUNSEL FOR MARTIN:                                 U.S. Marshal
  Ja'Net Lyneice Davis
  jdavis.law@outlook.com                              U.S. Probation/Pretrial Services Unit
  Marion Floyd
  floydmar@bellsouth.net                              JUDGE LEMELLE

  Gary Bizal                                          MAGISTRATE JUDGE
  gary@garybizal.com
                                                      FOREIGN LANGUAGE
  GENE JACKSON                                        INTERPRETER: NONE
  New Orleans, LA

  COUNSEL FOR JACKSON:
  Jerrod Thompson-Hicks, FPD
  jerrod_thompson-hicks@fd.org

                                                      If you change address, notify
                                                      Clerk of Court by phone,
                                                      (504) 589-7719
